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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

  GOOD SPORTSMAN MARKETING, LLC
  AND IP HOLDINGS, INC.

      Plaintiffs,

  v                                                  CIVIL ACTION NO. 6:07-CV-395 LED

  TOY ISLAND (USA), INC.                             JURY TRIAL DEMANDED

      Defendant.



                     ORDER GRANTING JOINT MOTION FOR DISMISSAL

         Plaintiffs IP Holdings, Inc., and Good Sportsman Marketing, LLC, and Defendant Toy

  Island (USA), LLC have filed a joint motion to dismiss this action.          The Court, having

  considered the motion, concludes that the motion should be granted. It is therefore

         ORDERED that all claims and counterclaims asserted by all parties to this action are

  hereby dismissed with prejudice, pursuant to the settlement agreement between the parties, with

  each party to bear its own costs and expenses, including attorney’s fees, incurred in connection

  with the action.

            So ORDERED and SIGNED this 29th day of September, 2010.




                                  __________________________________
                                  LEONARD DAVIS
                                  UNITED STATES DISTRICT JUDGE
